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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                        CIVIL DIVISION

                                   CASE NO.: 21-CV-21429-FAM

  MICHELLE GLENN,

                 Plaintiff(s),

         vs.                                  JOINT NOTICE OF SETTLEMENT AND
                                                   PLAINTIFF’S VOLUNTARY
  CITYOF MIAMI AND MARIO                                 DISMISSAL
  NUÑEZ,

              Defendant(s).
  _________________________________/

         The PARTIES, MICHELLE GLENN, CITY OF MIAMI, and MARIO NUNEZ, by and

  through undersigned counsel, hereby file notice of settlement and the Plaintiff’s voluntary

  dismissal for this case.


  Respectfully submitted on this 13th day of December, 2021.

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  The Derek Smith Law Group                  KEVIN R. JONES,
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  By: _/s/ Caroline Miller                   By: _/s/ Stephanie K. Panoff__________
  Caroline Miller                            Stephanie K. Panoff
  Florida Bar No.      1012331                              Florida Bar No. 69214



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  By: _/s/ Jose Teurbe- Tolon
      Jose Teurbe-Tolon
      Florida Bar No. 87791


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on December 13, 2021, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.

                                           By: _/s/ Stephanie K. Panoff__________
                                               Stephanie K. Panoff
                                               Florida Bar No. 69214




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